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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                          )
                                                   )
        v.                                         )   Case No. 3:12-CR-067 JD
                                                   )
 OMAR DURAN LAGUNES (01)                           )
 MARGARITO FUENTES REYES (02)                      )
 RAUL RAFAEL ROMAN CAMACHO (03)                    )
 LUIS OMAR MONTES MERINO (04)                      )
 YALITZA EXCLUSA BORRERO (05)                      )
 EVELYN RIVIERA BORRERO (06)                       )

                                               ORDER

        Pending before the Court is a motion by Luis Omar Montes Merino to sever his trial from

 his five co-defendants [DE 73]. For the reasons that follow, the Court denies the motion.

        “[W]hen defendants properly have been joined under Rule 8(b), a district court should

 grant a severance under Rule 14 only if there is a serious risk that a joint trial would compromise

 a specific trial right of one of the defendants, or prevent the jury from making a reliable

 judgment.” Zafiro v. United States, 506 U.S. 534, 539 (1992). “In all but the most unusual

 circumstances, the risk or prejudice arising from a joint trial is outweighed by the economies of a

 single trial in which all facets of the crime can be explored once and for all.” United States v.

 Alviar, 573 F.3d 526, 539 (7th Cir. 2009) (internal citations omitted).

        Mr. Merino contends that he would be deprived of a fundamentally fair trial if tried with

 his co-defendants. He gives two reasons: first, he asserts that his co-defendant Omar Duran

 Lagunes would, if called as a witness, testify that Mr. Merino “had no knowledge of the

 defendant, Lagunes’, business and was not a partner but merely an employee.” Second, he claims

 that the vast majority of the evidence in the case will point to Lagunes and other co-defendants,

 not Mr. Merino, and that trying him with the others could lead the jury to convict Mr. Merino of

 guilt by association. The government filed a motion to strike Mr. Merino’s motion to sever as
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 untimely, or in the alternative to summarily deny the motion. See DE 75.1 The Court has already

 granted Mr. Merino’s request for permission to file an untimely pretrial motion, see DE 98, and

 therefore treats the government’s motion as a response in opposition. The government argues

 that any evidentiary spillover issues can be addressed by instructing the jury to it must consider

 the evidence against each defendant separately, and that Mr. Merino has not met his burden to

 demonstrate that his co-defendant would testify in a separate trial or that the testimony would, in

 fact, be exculpatory.

         The Court agrees with the government on both issues. Regarding the alleged disparity in

 culpability between Mr. Merino and his co-defendants, the Court has not yet seen the evidence

 and Mr. Merino has not even attempted to proffer how the evidence will show that he is

 significantly less culpable that other co-defendants. Moreover, it seems unlikely to the Court that

 “95% or more of the Government’s case points to Lagunes and the other co-defendants,” as Mr.

 Merino claims: the crime charged is a conspiracy, so any evidence showing the existence of the

 conspiracy and its purposes is directly relevant to the culpability of each member. The Court

 does not believe that it will be difficult for a properly instructed jury to distinguish between the

 government’s burden to prove that each individual defendant personally joined the conspiracy

 and its burden to prove that the conspiracy existed and what the ends of that conspiracy were.

         Regarding the potential testimony of co-defendant Omar Duran Lagunes, the Court

 conducts a three step inquiry in determining whether severance is warranted, considering “(1)

 whether the co-defendant's testimony would be exculpatory; (2) whether the codefendant would

 in fact testify; and (3) whether the testimony would bear on defendant's case.” United States v.

 Magana, 118 F.3d 1173, 1190 (7th Cir. 1997).“To justify severance, a defendant must provide


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                                                          2
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 some support, such as an affidavit or recorded testimony, that his codefendant would testify in a

 manner which would exculpate him. Severance cannot be granted on the basis of a vague,

 unsupported assertion that a codefendant would testify favorably in a separate proceeding.”

 United States v. Andrus, 775 F.2d 825, 847 (7th Cir.1985).

        Here, Mr. Merino has not met his burden. First, he has made no proffer of what the

 testimony would be, so the court cannot evaluate whether it would in fact be exculpatory. For

 example, while Mr. Merino is charged with conspiring to commit immigration and mail-fraud

 offenses, his level of knowledge of the detailed workings of the conspiracy is not necessarily

 relevant to his guilt. Without significantly more detail regarding the testimony that Mr. Lagunes

 would offer, Mr. Merino cannot meet his burden at the first step of the analysis. Second, Mr.

 Merino has not offered evidence, such as an affidavit from his co-defendant, that Mr. Lagunes

 would actually waive his Fifth Amendment rights and testify even if the trials were severed.

 Assuming Mr. Lagunes would indeed refuse to testify at his own joint trial with Mr. Merino,

 why would he testify in a separate trial and subject himself to thorough cross-examination and

 possible self incrimination? Mr. Merino has offered nothing more than an unsupported assertion

 of a mere possibility that Mr. Lagunes would give testimony—which may or may not be

 exculpatory.

        Accordingly, the Court DENIES the Defendant Luis Omar Montes Merino’s Motion to

 Sever [DE 73].

        SO ORDERED.

        ENTERED: December 12, 2012


                                                    /s/ JON E. DEGUILIO
                                              Judge
                                              United States District Court


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